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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                             EL PASO DIVISION

USA                                            §
                                               §
vs.                                            §      NO: EP:22-CR-00037(1)-KC
                                               §
(1) APRIL CADENA                               §


                         ORDER ACCEPTING WAIVER OF
                    PERSONAL APPEARANCE AT ARRAIGNMENT

       Defendant filed a Notice of Waiver of Personal Appearance at Arraignment, signed by
defendant and defendant’s attorney, in which defendant affirms:

•      Defendant has received a copy of the charging document;
•      Defendant has read the charging document or had it read to him/her;
•      Defendant understands that he/she has the right to personally appear at arraignment; and
•      Defendant desires to waive personal appearance at arraignment and reading of the
       charging document, and tender a plea of “not guilty.”

       Pursuant to Federal Rule of Criminal Procedure 10(b), the Court hereby ACCEPTS the
waiver of appearance and directs that a plea of NOT GUILTY be entered for defendant.


       It is so ORDERED this 1st day of February, 2022.



                                                   ______________________________
                                                   MIGUEL A. TORRES
                                                   UNITED STATES MAGISTRATE JUDGE
